                         Case 3:17-cr-00083-RNC Document 92 Filed 05/21/18 Page 1 of 2
                                                                                                                                         Criminal (1/14/2009)
                                                                                    H ON ORABLE: Robert N. Chatigny
                                                       DEPUTY CLERK                               RPTR/ECRO/TAPE Darlene Warner
                                                       USPO                                       INTERPRETER
TOTAL TIM E:                 hours 5        minutes
                                                       D ATE: 5/21/18 START TIM E: 10:00AM                            EN D TIM E: 10:05AM
                                                      COURTROOM MINUTES
  IA-INITIAL APPEAR                          BOND HRG                            CHANGE OF PLEA                      IN CAM ERA HRG
  IA- REVOCATION                             DETENTION HRG                       WAIVER/PLEA HRG                     COM PETENCY HRG
  IA- RULE 5                                 PROBABLE CAUSE                      EXTRADITION HRG                     FORFEITURE HRG
  ARRAIGNM ENT                               CONFLICT HRG                    G EVIDENTIARY          HRG              STATUS CONF



 CRIM INAL NO. 3:17-cr-00083-RNC                        DEFT # 1                              Vanessa Richards
                                                                                               AUSA
                                   USA
                                   vs                                                          Vadim A. Glozman
                                                                                              Counsel for Defendant Ret-          CJA-         PDA-
                     Pater Yuryevich Levashov


  . . . . . . . Deft failed to appear. Oral M otion for issuance of Warrant          granted      denied       Bond FORFEITED
  ......      Arrest Date (C T Case):                                Case unsealed or        Rule 5 arrest,           Dist of
  . . . . . . CJA 23 Financial Affidavit filed          under seal
  . . . . . . Order Appointing Federal Public Defender’s Office filed
  . . . . . . Court appoints Attorney                                        to represent defendant for       this proceeding only       all proceedings
  . . . . . . Appearance of                                                               filed
  ......       Complaint filed            Sealed Complaint filed         Affidavit of                                           filed
  ......       Information/M isdemeanor filed              Sealed Information filed
  ......       Waiver of Indictment (case opening) filed                 Felony Information filed
  ......       Waiver of Indictment (mid case) filed                    Superseding Information filed
    . . . . . . Plea Agreement Ltr filed        under seal;     Special Assessment of        $100. 00    $50. 00  $25. 00 to be paid immediately
  . . . . . . Counts                                 of the                                (indictment, superceding indictment, information, etc. )
             Plea of      not guilty   guilty     nolo contendere
  . . . . . . Petition to Enter Guilty Plea filed
  . . . . . . Defendant motions due                               ; Government responses due
  ......   Scheduling Order       filed to be filed      Sentencing Scheduling Order
  ......   Jury Selection set for                                 at
  ......   Remaining Count(s) to be dismissed at sentencing
  ......   Sentencing set for                               at
  . . . . . . Govt’s M otion for Pretrial Detention filed           GRANTED            DENIED        ADVISEMENT
  . . . . . . Govt’s ORAL M otion for Pretrial Detention     GRANTED          DENIED                      ADVISEMENT
  . . . . . . Order of Detention filed
  . . . . . . Deft ordered removed/committed to originating /another District of
  . . . . . . No bond set at this time, Order of Temporary Detention Pending Hearing                  filed      to be filed
  . . . . . . Waiver of Rule 5 Hearing filed
  . . . . . . Govt’s M otion for waiver of 10-day notice GRANTED              G DENIED G ADVISEMENT
  . . . . . . Bond      set at $                              reduced to $                        Non-surety      Surety       Personal Recognizance
  . . . . . . Bond    revoked            reinstated     continued      modified
  . . . . . . Defendant detained
  . . . . . . Hearing      waived         set for                                       continued until
  . . . . . . Set Attorney Flag                                      SEE reverse for        conditions of bond      additional proceedings
                       Case 3:17-cr-00083-RNC Document 92 Filed 05/21/18 Page 2 of 2
                                                         CONDITIONS OF BOND
   . . . . . Travel restricted to Connecticut of extended to
             upon obtaining permission from USPO. A motion for any other travel with copies to the Govt and to USPO must be filed
             and approved by the Court.

    . . . . . Deft must reside at


   . . . . . . Deft must report to USPO              Times a   G week Gmonth G by telephone G in person G at USPO      discretion.

   . . . . . . Deft must refrain from the possession of firearms or dangerous weapons.

   . . . . . . Deft must maintain employment or actively seek employment.

   . . . . . . Deft must refrain from use or unlawful possession, or distribution of a narcotic drug.

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                                                   ADDITIONAL PROCEEDINGS




G . . . . . . Deft’s oral motion                                                                    G granted G denied G advisement
G ...... Deft’s oral motion                                                                         G granted G denied G advisement
G . . . . . . . Deft’s oral motion                                                                  G granted G denied G advisement
G . . . . . . . Deft’s oral motion                                                                  G granted G denied G advisement
G . . . . . . Govt’s oral motion                                                                   G granted G denied Gadvisement
G . . . . . . Govt’s oral motion                                                                    G granted G denied G advisement
G . . . . . . Govt’s oral motion                                                                   G granted G denied G advisement
G . . . . . . Govt’s oral motion                                                                    G granted G denied G advisement
G ...... #             Deft                     M otion                                            G granted G denied G advisement
G ...... #             Deft                    M otion                                             G granted G denied Gadvisement
G ...... #             Govt M otion                                                                G granted G denied G advisement
G ...... #             Govt M otion                                                                G granted G denied G advisement
G ......        Parties discussed status of case and feasibility of trial date in Dec.      G filed G granted G denied G advisement
G . . . . . . Will provide update/move for continuance if needed.                           G filed G granted G denied G advisement
G ......                                                                                    G filed G granted G denied G advisement
G ......                                                                                    G filed G granted G denied G advisement
G ......                                                                                    G filed G granted G denied G advisement
